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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



JOHN DOE,

                      Petitioner,

                      v.                                          No. 17-cv-2069 (TSC)

GEN. JAMES N. MATTIS,
 in his official capacity as SECRETARY OF
 DEFENSE,

                      Respondent.



                      PARTIES’ PROPOSED BRIEFING SCHEDULE

       Counsel for Petitioner and Respondent have conferred and respectfully propose the

following briefing schedule:

   1. Petitioner will file by February 9, 2018, a response to Respondent’s Factual Return (ECF

       Nos. 46, 49), challenging Respondent’s legal authority to detain Petitioner while

       assuming all factual allegations about Petitioner in Respondent’s Factual Return are true.

   2. Respondent will file by February 12, 2018, a memorandum in opposition to Petitioner’s

       Motion to Unseal (ECF No. 48).

   3. Petitioner will file by February 22, 2018, a reply in support of Petitioner’s Motion to

       Unseal.

   The parties have agreed to and propose the above schedule without prejudice to:

       (i) Respondent’s seeking leave, if necessary to file a further response to Petitioner’s

   February 9 response to Respondent’s Factual Return; and
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       (ii) Petitioner’s filing a response to Respondent’s factual allegations about Petitioner in

   Respondent’s Factual Return at a date to be determined, should this matter not be resolved on

   Petitioner’s challenge to Respondent’s legal authority, as described in paragraph 1 above.



Dated: January 26, 2018                             Respectfully submitted,


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